    Case 1:08-bk-13702         Doc 4 Filed 11/24/08 Entered 11/24/08 11:00:04                 Desc Order
                                 Gr/Dn After Consideratio Page 1 of 1
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF RHODE ISLAND



 In Re: Scott Brass, Inc.                                                BK No. 1:08−bk−13702

  Debtor(s)                                                              Chapter 11




                                    Order GRANTING. Document (doc# 2 )

                        Re: Motion to Appear Pro Hac Vice filed by attorney Jed Horwitt



  After consideration of the pleading(s), IT IS HEREBY ORDERED that the above entitled document (doc. # 2 )
is GRANTED .


Judgment #: 1:08−bk−13702 − 4 − 2




 ORDER:                                                              ENTER:



 BY: cs                                                               Arthur N. Votolato
 Deputy Clerk                                                         U.S. Bankruptcy Judge
                                                                      Date: 11/24/08


 Entered on Docket: 11/24/08
 Document Number: 4 − 2
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